Case 1:21-cr-00392-RCL Document 170-1 Filed 02/09/23 Page 1of1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATE OF AMERICA, Case No,: 1:21-cr-00392-RCL-6
Plaintiff,

ORDER GRANTING APPOINTMENT OF
COUNSEL UNDER THE CRIMINAL
JUSTICE ACT (PROPOSED)

VS,

RONALD MELE,

Defendant

 

ORDER GRANTING APPOINMENT OF CJA COUNSEL (PROPOSED)

Before the court is Defendant, Ronaid Mele’s motion | | to appoint his counsel, Mr.
Steven C. Bailey, as his counsel under the Criminal Justice Act (“CJA”). In June 2021,
Defendant retained Mr. Bailey as his counsel to represent him in this criminal case, Mr. Mele
was terminated from his employment and is at this point underemployed with his current
employment and contends that he no longer can pay Mr. Bailey. Defendant provided a financial
affidavit in support of his request, which the court will file under seal. Upon Consideration of
defendant’s motion, it is hereby

ORDERED that Steven C. Bailey and Amanda Perez is appointed as counsel for
defendant under the CJA, to be effective representation from this date forward. Pursuant to 18
U.S.C.§ 3006A(c) & (f), at the conclusion of this case the Court will determine whether
Defendant has funds available to pay for part or all of the representation, and if so, the amount of
such funds the Defendant shall pay towards the representation.

IT IS SO ORDERED.

Date:

 

Royce C, Lamberth
United States District Judge
